          Case 3:08-cr-00086-LC                Document 139             Filed 02/02/09           Page 1 of 5


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                       Page 1 of 5
3:08cr86-002LAC - RAJENDER REDDY NANDYALA, a/k/a Raj Nandyala, a/k/a Rajender Reddy, a/k/a Rajumama


                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF FLORIDA
                                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 3:08cr86-002LAC

RAJENDER REDDY NANDYALA,
a/k/a Raj Nandyala, a/k/a Rajender Reddy,
a/k/a Rajumama
                                                                  USM # 07029-017

                                                                  Defendant’s Attorney:
                                                                  William Richbourg (Retained)
                                                                  700 North 9th Avenue, Suite A
                                                                  Pensacola, Florida 32501
___________________________________
                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One, Two and Three of the Indictment on October 15, 2008.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
        TITLE/SECTION                             NATURE OF                        DATE OFFENSE
           NUM BER                                 OFFENSE                          CONC LUDED            COUNT

 18 U.S.C. §§ 1546(a) and             Conspiracy to Comm it Visa Fraud            September 16, 2008           One
 371

 18 U.S.C . § 1956(a)(1)(A)(i),       Conspiracy to Comm it Money                 September 16, 2008           Two
 (B)(i) and (h)                       Laundering

 18 U.S.C. § 1546(a)(2)               Make a False Statement in the                   May 10, 2007         Three
                                      Ap plicatio n of a V isa Perm it

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                  Date of Imposition of Sentence:
                                                                  January 29, 2009

                                                                  s /L.A. Collier
                                                                  LACEY A. COLLIER
                                                                  SENIOR UNITED STATES DISTRICT JUDGE

                                                                  February 2, 2009
          Case 3:08-cr-00086-LC                Document 139             Filed 02/02/09           Page 2 of 5



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                       Page 2 of 5
3:08cr86-002LAC - RAJENDER REDDY NANDYALA, a/k/a Raj Nandyala, a/k/a Rajender Reddy, a/k/a Rajumama


                                                 IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Seven Months as to Counts One, Two, and Three, with Counts to run
concurrently one with the other.

         The defendant is remanded to the custody of the United States Marshal.




                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                    __________________________________
                                                                          UNITED STATES MARSHAL


                                                                By:__________________________________
                                                                            Deputy U.S. Marshal
          Case 3:08-cr-00086-LC                Document 139             Filed 02/02/09           Page 3 of 5



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                       Page 3 of 5
3:08cr86-002LAC - RAJENDER REDDY NANDYALA, a/k/a Raj Nandyala, a/k/a Rajender Reddy, a/k/a Rajumama


                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Two Years as to Counts One, Two, and Three, with Counts to run concurrently one with
the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                            STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defe nda nt shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defe nda nt shall repo rt to the prob ation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       Th e de fendan t shall notify the pro bation office r at leas t 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance o r any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant sh all not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
          Case 3:08-cr-00086-LC                Document 139             Filed 02/02/09           Page 4 of 5



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                        Page 4 of 5
3:08cr86-002LAC - RAJENDER REDDY NANDYALA, a/k/a Raj Nandyala, a/k/a Rajender Reddy, a/k/a Rajumama

         officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant sh all notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this jud gm ent im poses a fine or a res titution obligation , it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                    ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall cooperate with the probation officer and Immigration and Customs
         Enforcement regarding immigration status and abide by all orders or instructions of the
         Immigration and Customs Enforcement agency. If deported, the defendant shall not
         reenter the United States without permission of the Attorney General or Secretary of the
         Department of Homeland Security.

                                CRIMINAL MONETARY PENALTIES

                                                      SUMMARY
            Special
      Monetary Assessment                                 Fine                                 Restitution

                    $0                                     $0                                         $0

Upon Government’s motion, the special monetary assessment was remitted.

No fine imposed.

No restitution imposed.

                                                  FORFEITURE

Preliminary Order of Forfeiture entered on January 29, 2009.
          Case 3:08-cr-00086-LC                Document 139             Filed 02/02/09           Page 5 of 5



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                       Page 5 of 5
3:08cr86-002LAC - RAJENDER REDDY NANDYALA, a/k/a Raj Nandyala, a/k/a Rajender Reddy, a/k/a Rajumama


       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                                   Date




         U.S. Probation Officer/Designated Witness                                   Date
